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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA


 1) VIDEO GAMING TECHNOLOGIES, INC.,        )
                                            )
                                            )
             Plaintiff,                     )
                                            )
 v.                                         )   Case No. 4:17-cv-00454-GKF-jfj
                                            )
 1) CASTLE HILL STUDIOS LLC                 )   REDACTED
    (d/b/a CASTLE HILL GAMING);             )
 2) CASTLE HILL HOLDING LLC                 )
    (d/b/a CASTLE HILL GAMING); and         )
 3) IRONWORKS DEVELOPMENT, LLC              )
    (d/b/a CASTLE HILL GAMING)              )
                                            )
             Defendants.                    )

         PLAINTIFF VIDEO GAMING TECHNOLOGY, INC.’S OPPOSITION TO
      DEFENDANTS’ MOTION TO STRIKE DECLARATIONS OF STACY FRIEDMAN
      AND JOSH DAVIS SUBMITTED IN SUPPORT OF PLAINTIFF’S MOTION FOR
                       PARTIAL SUMMARY JUDGMENT
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                                           INTRODUCTION

            Defendants (“CHG”) ask the Court to exclude two declarations supporting Plaintiff

   Video Gaming Technologies, Inc.’s (“VGT’s”) motion for summary judgment that CHG

   misappropriated a VGT trade secret (the                algorithm). Defs.’ Mot. to Strike

   Declarations of Stacy Friedman and Josh Davis (Dkt. 236) (hereinafter, “Motion” or “Mot.”).

   One declaration is from VGT’s game design expert, Stacy Friedman, who offers opinions that

   VGT’s algorithm is not generally known, is valuable, and is used by CHG. The other declaration

   is from a long-time VGT engineer, Josh Davis, who describes how the algorithm works and

   VGT’s efforts to keep it secret. 1 CHG has no evidence to counter these declarations: CHG did

   not offer a declaration from any of its experts or fact witnesses, and CHG elected not to depose

   Mr. Davis in his personal capacity. CHG thus resorts to seeking the exclusion of their testimony,

   but offers no basis on which to grant this request.

            As to Mr. Friedman, CHG makes conclusory assertions that his declaration offers new

   opinions—which CHG never identifies. This is not surprising because Mr. Friedman’s two

   expert reports discuss the opinions set forth in his declaration (i.e., his credentials and opinions

   on the             algorithm) in more than 30 pages, and CHG had the opportunity to depose Mr.

   Friedman on these opinions. CHG even concedes that the declaration “regurgitates” Mr.

   Friedman’s reports, Mot. at 4, yet CHG inexplicably asks the Court to strike portions that “are

   entirely duplicative and appear to be taken directly from his prior reports,” id. at 7. Although




   1
    The Declaration of Stacy Friedman in Support of Plaintiff’s Motion for Partial Summary
   Judgment (“Friedman Declaration”) and the Declaration of Josh Davis in Support of Plaintiff’s
   Motion for Partial Summary Judgment (“Davis Declaration”) are filed under seal at docket entry
   179 and in redacted versions at docket entries 178-7 and 178-1, respectively.
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   CHG contends that his declaration also “amplifies” and “bolsters” his reports in certain ways,

   Mot. at 4–5, CHG’s concerns ring hollow.

            CHG takes a blunderbuss approach to Mr. Davis’s declaration, offering various

   arguments that misapprehend the rules. For example, CHG challenges Mr. Davis’s statement

   that an engineering document was not disclosed outside of VGT “[t]o [Mr. Davis’s] knowledge,”

   Davis Declaration ¶ 15, which CHG says is expert opinion and is not based on personal

   knowledge (despite the explicit reference to his “knowledge”), Mot. at 14, 16. CHG also appears

   to believe that, notwithstanding (a) VGT’s identification of Mr. Davis in its initial disclosures

   and multiple interrogatory responses and (b) CHG’s decision not to depose him, VGT was under

   an obligation to affirmatively produce Mr. Davis’s declaration during discovery. All of these

   arguments are meritless. CHG had ample notice of Mr. Davis’s testimony, all of which is

   appropriately based on his personal knowledge from over 14 years as a VGT engineer.

            More than eight months have passed since VGT first asked CHG to cease using the

          algorithm. Although CHG immediately said it would no longer use the algorithm, it has

   refused to enter into a resolution that would avoid the need for litigation, instead forcing the

   parties to engage in costly discovery and motions practice all the while lacking any credible

   defense. CHG’s motion to strike is the latest step in this strategy. It should be denied.

                                            BACKGROUND

            During expert discovery, Mr. Friedman offered two expert reports detailing the opinions

   set out in the Friedman Declaration (as well as others) and the bases for those opinions. See Ex.

   A; Ex. B. 2 Although CHG repeatedly (and incorrectly) refers to the declaration’s length, see,




   2
       Exhibits A to N are attached to the Motion. Exhibits O to X are attached submitted herewith.


                                                     2
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   e.g., Mot. at 1, 3 it actually contains an abbreviated version of the corresponding analysis in his

   reports, which span almost 120 pages. Like the declaration, Mr. Friedman’s opening report has

   approximately 38 paragraphs and 21 pages discussing his expert qualifications, Class II game

   development, VGT’s                algorithm, the reasonableness of VGT’s security measures, and

   CHG’s use of that algorithm. 4 Mr. Friedman’s reply report contains another 21 paragraphs and

   10 pages of analysis responding to the opinions of CHG’s expert about the                 algorithm.

   See Ex. C ¶¶ 82–102, pp. 31–40.

          In those reports, Mr. Friedman thoroughly explained the basis for the opinions set out in

   his declaration. He explained that his opinion was “based on reviewing VGT’s source code and

   documents,” and “on [his] review of CHG’s source code and documents,” inter alia, and

   provided specific source code citations for key functionality. See, e.g., Ex. A ¶¶ 63, 111; Ex. C

   ¶¶ 98–101. And he explained that his opinions regarding the development of VGT’s

   algorithm were based on conversations with Josh Davis. See Ex. A ¶¶ 63–64, 71.

          After Mr. Friedman provided both reports, he was deposed by counsel for CHG on

   September 24, 2018. During that deposition, counsel asked Mr. Friedman questions about his

   analysis of VGT’s              algorithm, his opinions regarding misappropriation, and his source

   code analysis. Ex. O, Friedman Dep. Tr. 79:11–81:15, 96:8–134:19, 160:4–161:8.

          Whereas Mr. Friedman’s reports address a number of trade secrets and other issues, the

   Friedman Declaration is limited to the testimony relevant to VGT’s motion for partial summary



   3
     Although CHG repeatedly refers to it as “a 23-page declaration,” e.g., Mot. at 1, that includes
   the cover page and the certificate of service, neither of which contain any substance.
   4
    Compare Ex. C ¶¶ 3–40, with Ex. A, ¶¶ 1–8, pp. 1–3 (expert qualifications); id. ¶¶ 11–12, 28–
   31, pp. 4, 11–13 (Class II game development); id. ¶¶ 61–73, pp. 24–29 (development of VGT’s
               algorithm); id. ¶¶ 85–87, pp. 34–35 (VGT’s security measures); id. ¶¶ 111–121, pp.
   45–53 (CHG’s use of VGT’s                 algorithm).

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   judgment, which addresses only the               algorithm and only one of the two ways in which

   CHG has misappropriated that algorithm. Like the reports, Mr. Friedman’s declaration sets forth

   his expert qualifications (Ex. C ¶¶ 3–9), explains some of the challenges posed by Class II game

   development (id. ¶¶ 11–18), and offers opinions on VGT’s                algorithm (id. ¶¶ 19–21,

   24–35), the reasonableness of VGT’s security measures (id. ¶¶ 22–23), and CHG’s use of that

   algorithm (id. ¶¶ 36–40). Although most portions are verbatim the same as the reports, some

   portions repackage the testimony to sharpen and focus the issues for the Court, which is entirely

   proper. Mr. Friedman also refers to some of Mr. Zeidman’s deposition testimony, which was not

   available at the time of Mr. Friedman’s reports. As explained below, however, there are no new

   opinions or bases in the Friedman Declaration.

          As to Mr. Davis, VGT repeatedly disclosed that he had knowledge relevant to the

   litigation, but CHG declined to depose him. On October 6, 2017, VGT served its initial

   disclosures, which identified Mr. Davis as having discoverable information related to the

   “[d]esign and development of VGT products, including software and game play.” Ex. P, VGT’s

   Rule 26(a)(1) Initial Disclosures, at 2. On November 22, 2017, VGT also identified Mr. Davis’s

   role in developing its Class II system in its initial response to CHG’s Interrogatory No. 6, which

   sought the “background and history of each trade secret,” Ex. Q, VGT’s Resp. to First Set of

   Interrogs. at 34–35, and in response to CHG’s Interrogatory No. 8, which sought the identity of

   each person who provided information in responding to CHG’s first set of interrogatories, see id.

   at 40–41. But CHG chose not to notice Mr. Davis for deposition.

          Nonetheless, CHG still had the opportunity to depose Mr. Davis as a corporate

   representative on certain technical issues. During that deposition, CHG questioned him at length

   about VGT’s              algorithm. See, e.g., Ex. J at 74:10–86:14. The              algorithm



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   was also addressed at length in VGT’s interrogatory responses and numerous correspondence

   between counsel. See, e.g., Dkt. No. 74, Exs. A, C, G, K, L, M, N, O, Q.

                                         LEGAL STANDARD

          A party using an expert witness must disclose a report containing, inter alia, “a complete

   statement of all opinions the witness will express and the basis for reasons for them.” Fed. R.

   Civ. P. 26(a)(2)(B). “The purpose of Rule 26(a)(2)’s expert disclosure requirements is to

   eliminate surprise and provide the opposing party with enough information regarding the

   expert’s opinions and methodology to prepare efficiently for deposition, any pretrial motions and

   trial.” Lexington Ins. Co. v. Newbern Fabricating, Inc., No. 14-CV-0610-CVE-TLW, 2017 WL

   999461, at *3 (N.D. Okla. Mar. 14, 2017) (quoting Cook v. Rockwell Int’l Corp., 580 F. Supp. 2d

   1071, 1122 (D. Colo. 2006)). But experts are not confined to reading their reports verbatim

   when testifying at trial. See Muldrow ex rel. Estate of Muldrow v. Re-Direct, Inc., 493 F.3d 160,

   167 (D.C. Cir. 2007); Gustafson v. Am. Family Mut. Ins. Co., No. 11-CV-01303-PAB-MEH,

   2012 WL 5904048, at *7 (D. Colo. Nov. 26, 2012); Wells Fargo Bank, N.A. v. LaSalle Bank Nat.

   Ass’n, No. CIV-08-1125-C, 2011 WL 1303949, at *9 (W.D. Okla. Apr. 1, 2011).

          Federal Rule of Evidence 602 permits witnesses to testify about matters within the scope

   of their personal knowledge. This remains true even when a witness’s personal knowledge

   involves technical or specialized subject matter. See, e.g., Supernus Pharm., Inc. v. TWi Pharm.,

   Inc., 265 F. Supp. 3d 490, 517 (D.N.J. 2017) (permitting a scientist not disclosed as an expert to

   testify “to matters which, while technical and specialized, are squarely within his particularized

   firsthand knowledge and experience as a pharmaceutical scientist employed by” plaintiff) (citing

   Donlin v. Philips Lighting N. Am. Corp., 581 F.3d 73, 81 (3d Cir. 2009)), aff'd, No. 2017-2513,

   2018 WL 4232089 (Fed. Cir. Sept. 6, 2018); Sitrick v. Dreamworks, LLC, No. CV 03-4265-

   SVW (AJWx), 2006 WL 6116641, at *22 (C.D. Cal. July 20, 2006) (“[The inventor’s] testimony
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  regarding [technology], which he invented, can properly be considered factual testimony and is

  admissible on that basis without [his] being a designated expert: [the inventor] obviously has

  sufficient first-hand, personal knowledge to state facts regarding [the technology].”), aff’d, 516

  F.3d 993 (Fed. Cir. 2008).

                                            ARGUMENT

          Although CHG’s Motion asks the Court to exclude the Friedman and Davis Declarations

  in their entirety, the Motion addresses only a small portion of each declaration. None of these

  arguments has merit.

  I.      THE FRIEDMAN DECLARATION SHOULD NOT BE STRICKEN.

         A.      The Friedman Declaration Contains No New Opinions.

          CHG seeks to “strike the entire [Friedman] Declaration” because “all opinions are either

  duplicative of the existing report or are new.” Mot. at 8. But CHG’s Motion fails to identify any

  allegedly new opinion in the Friedman Declaration. Instead, CHG vaguely asserts that some

  portions of the declaration are improper and argues that even the “proper” portions should be

  stricken on the ground that they “are entirely duplicative and appear to be taken directly from his

  prior reports.” Id. at 7.

          CHG’s unwillingness (or inability) to identify the challenged testimony is fatal to the

  motion because it is “required to do more than swing its bludgeon wildly.” Perma Research &

  Development Co. v. Singer Co., 410 F.2d 572, 579 (2d Cir. 1969) (a “motion to strike must be

  precise”). As the moving party, CHG has the burden to point to the specific evidence it contends

  is inadmissible—VGT and the Court should not have to guess. See MGPC, Inc. v. Duncan, 581

  F. Supp. 1047, 1059 (D. Wyo. 1984), rev’d on other grounds sub nom. MGPC, Inc. v. Dep’t of

  Energy, 763 F.2d 422 (Temp. Emer. Ct. App. 1985); 10B Wright & Miller, Fed. Prac. & Proc.

  Civ. § 2738 (4th ed.) (“a motion to strike should specify the objectionable portions of the

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  affidavit and the grounds for each objection” because a “motion asserting only a general

  challenge to an affidavit will be ineffective”). CHG cannot shirk this duty by taking the position

  that it is moving to strike even “proper” testimony, 5 Mot. at 7, and it would be improper for

  CHG to point to specific testimony for the first time on reply. See MGPC, 581 F. Supp. at 1059

  (“a Motion to Strike, in order to be effective, must set forth the objectionable portions of the

  affidavit and the grounds for the objection”).

         CHG’s failure to identify any allegedly new opinions is not surprising. The Friedman

  Declaration does not contain any new opinions but rather presents a subset of the opinions in his

  reports—namely, those relating to CHG’s misappropriation of the VGT                    algorithm.

  Even CHG admits that the declaration “regurgitates” opinions in his original report, and, in a

  lengthy string cite, CHG identifies corresponding portions of the report for each issue addressed

  in his declaration. Mot. at 4.

         Like his expert reports, Mr. Friedman’s Declaration provides opinions that the

  development of Class II games is difficult (compare Ex. A ¶¶ 28–31, 61–62, 117–118, with Ex.

  C ¶¶ 11–18), that VGT’s               algorithm is valuable because it is not generally known

  (compare Ex. A ¶¶ 63–73 and Ex. B ¶¶ 82–96, with Ex. C ¶¶ 19–21, 24–35), that the algorithm

  was subject to reasonable security measures (compare Ex. A ¶¶ 85–87, with Ex. C ¶¶ 22–23),




  5
    In the case CHG cites in support of this request, a court in this District found an expert
  declaration that restated opinions from the expert’s report to be irrelevant “in ruling on
  defendants’ Daubert motion” because the court could review the report itself. Rodgers v.
  Beechcraft Corp., No. 15-CV-0129-CVE-PJC, 2017 WL 465474, at *5 (N.D. Okla. Feb. 3,
  2017). That is different from a summary judgment motion, which may not be based on the
  movant’s own expert reports. Peak ex rel. Peak v. Cent. Tank Coatings, Inc., 606 F. App’x 891,
  895 (10th Cir. 2015) (“unsworn expert reports are not competent evidence on summary
  judgment”).

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  expert report because it did not contain new opinions and instead merely elaborated on opinions

  in the expert’s reports).

          CHG’s Motion rests on an misunderstanding of summary judgment practice. CHG relies

  almost exclusively on cases where an expert declaration is offered in response to a Daubert

  motion. See Mot. at 6–8. But CHG fails to recognize the crucial distinction between an expert

  declaration offered in response to a Daubert motion and an expert declaration offered in support

  of a summary judgment motion: an expert report is not competent evidence to support a

  summary judgment motion. See Peak ex rel. Peak v. Cent. Tank Coatings, Inc., 606 F. App’x

  891, 895 (10th Cir. 2015) (“unsworn expert reports are not competent evidence on summary

  judgment”). CHG’s failure to appreciate this distinction is evident in its request that “the Court

  should strike the entire Declaration” because it contains opinions “duplicative of the existing

  report.” Mot. at 8 (citing case involving Daubert motion). That is entirely appropriate for an

  expert declaration offered in support of summary judgment. See Cow Palace, 80 F. Supp. 3d at

  1217.

          The only case cited by CHG relating to summary judgment declarations is inapposite.

  See Oklahoma v. Tyson Foods, Inc., No. 05-CV-329-GKF-PJC, 2009 WL 2252129 (N.D. Okla.

  July 24, 2009). There, faced with declarations from ten different experts, many of which were

  offered in response to Daubert challenges, the Court struck two paragraphs of an expert

  declaration offered in support of a summary judgment motion because they contained

  “commentary concerning certain figures of the [expert’s] report” that were somehow

  “impermissible.” Id. at *8. VGT does not understand Tyson Foods to stand for the proposition

  that expert declarations must be “copied verbatim from” expert reports, as CHG suggests. Mot.

  at 7–8. Instead, as other district courts in the Tenth Circuit have explained, “expert witnesses are



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  not limited to reading their reports from the stand” because “the expert is expected to

  ‘supplement, elaborate upon, explain and subject himself to cross-examination upon his report.’”

  Gustafson, 2012 WL 5904048, at *7 (quoting Thompson, 470 F.3d at 1203); see also Wells

  Fargo, 2011 WL 1303949, at *9 (“an expert’s testimony that expands upon an opinion that

  expert expressed in a previous report or deposition is admissible”).

         In a footnote, CHG also argues that unspecified paragraphs of the Friedman Declaration

  should be stricken because, to the extent Mr. Friedman relies on the Davis Declaration, “Mr.

  Friedman lacks personal knowledge.” Mot. at 8 n.4. But Federal Rule of Evidence 703 “permits

  opinions that are not based on personal knowledge.” 27 Charles Alan Wright & Arthur R.

  Miller, Fed. Prac. & Proc. Evid. § 6025 (2d ed. Sept. 2018). Moreover, as the Friedman

  Declaration states, in addition to relying on the Davis Declaration, Mr. Friedman also based his

  opinion on his “review of VGT’s documentation and source code.” Ex. C ¶ 19.

        C.      CHG Has Not Been Prejudiced By The Friedman Declaration.

         CHG’s claim that it will be prejudiced by the Friedman Declaration, Mot. at 9, fails for

  the same reason: The declaration contains no new opinions or bases for those opinions (except

  for a few instances where Mr. Friedman responds to new opinions or concessions offered by Mr.

  Zeidman at his deposition), so there can be no prejudice to Defendants.

         Not surprisingly, CHG’s prejudice argument is entirely conclusory. For example, CHG

  argues that it would need to depose Mr. Friedman again, id., but CHG does not identify a single

  issue in the Friedman Declaration that merits a second deposition. To the contrary, CHG had the

  opportunity to depose Mr. Friedman about all of the contents of his declaration, and in fact they

  questioned him on many of the issues. See Ex. O at 11:2–47:17 (qualifications), 52:2–65:9

  (Class II game development); 79:11–81:15 (source code analysis), 96:8–134:19 (development of



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  are facts—not opinions. Indeed, these particular statements are expressly qualified by reference

  to Mr. Davis’s “knowledge” and “aware[ness].” CHG offers no explanation why this factual

  testimony is expert opinion beyond its inapt reference to Mr. Friedman’s testimony. 12 Id. That

  Mr. Friedman cites the same facts, or offers opinions based on those facts, does not mean Mr.

  Davis’s testimony is somehow expert opinion.

          Second, Mr. Davis’s testimony regarding certain VGT business records (change lists

  from a source code repository), Mot. at 14–15, is proper. Mr. Davis relies on his personal

  knowledge to establish that these documents are business records under Federal Rule of

  Evidence 803(6), Ex. G ¶ 4, and then he provides a short explanation of what those records

  reveal, id. ¶¶ 8–9. Because it is well established that “[p]ersonal knowledge can derive from a

  review of business records,” United States v. Nugent, No. 5:16-CV-380-JMH, 2017 WL

  4249775, at *4 (E.D. Ky. Sept. 25, 2017) (collecting numerous cases), there is nothing improper

  or even unusual about a business record sponsor identifying the pertinent information in the

  record. See Bryant v. Farmers Ins. Exchange, 432 F.3d 1114, 1123–24 (10th Cir. 2005)

  (“insofar as her declaration repeats the reported results of those [business records] as she

  reviewed them, it cannot be said that she lacked personal knowledge”). Having laid a proper

  foundation for the admission of these records, Mr. Davis is allowed to explain what those records

  show.

          The fact that his declaration addresses technical issues, such as the            algorithm,

  does not mean that his testimony is expert opinion. Supernus, 265 F. Supp. 3d at 517 (permitting




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    While CHG also criticizes statements in the Davis Declaration regarding Class II regulatory
  requirements and whether Class II companies usually keep their              algorithms
  confidential as matters of opinion, Opp. at 13–14 (citing Davis Declaration ¶¶ 6, 18), CHG does
  not dispute those issues. Compare Mot. at 5–6 (¶¶ 15, 23), with Opp. at 4, 7 (¶¶ 15, 23).

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  a scientist not disclosed as an expert to testify “to matters which, while technical and specialized,

  are squarely within his particularized firsthand knowledge and experience as a pharmaceutical

  scientist employed by” plaintiff); Sitrick, 2006 WL 6116641, at *22 (admitting an inventor’s

  testimony about technical issues as “factual testimony . . . admissible on that basis without [his]

  being a designated expert” because the inventor “has sufficient first-hand, personal knowledge”

  regarding the technology). Here, Mr. Davis is a Principal Software Engineer with nearly fifteen

  years of experience working on VGT’s Class II system and is specifically knowledgeable about

  the            algorithm that is the subject of VGT’s summary judgment motion. Ex. G ¶ 2.

  This enables him to provide testimony about the system, the algorithm, and VGT’s practices, to

  the extent it is deemed opinion rather than fact testimony. Mr. Davis’s long career as a VGT

  engineer also distinguishes the present case from the case CHG cites, Freeman v. Glanz, No. 16-

  CV-534-JHP-PJC, 2018 WL 4134669, at *7 (N.D. Okla. Aug. 29, 2018)), in which Judge Payne

  excluded a witness from offering a “medical opinion” because the witness did not even claim “to

  be a medical professional.” Id. at *7.

        B.      The Davis Declaration Is Made Based on Personal Knowledge

         CHG claims, without evidence, that Mr. Davis lacks personal knowledge for statements

  made in his declaration. Mot. at 15–16. CHG’s arguments are unavailing for several reasons.

         First, CHG claims that Mr. Davis lacks personal knowledge as to the “regular practice”

  of “VGT engineers” regarding VGT’s source code repository. Mot. at 15. But CHG ignores that

  Mr. Davis was just the tenth employee at VGT’s Charlottesville office (the locus of VGT’s

  engineering operations at the time) and has nearly fifteen years of experience developing those

  systems, Ex. G ¶ 2, thereby enabling him to understand the usual practices of VGT engineers.

  See 5 Weinstein's Federal Evidence § 803.08 (2018) (“The witness need only have enough

  familiarity with the record-keeping system of the entity in question to explain how the record
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  came into existence in the course of a regularly conducted activity of the entity. The witness

  need not have personal knowledge of the actual creation of the documents or have personally

  assembled the records.”); United States v. Cestnik, 36 F.3d 904, 910 (10th Cir. 1994) (permitting

  senior employee to testify as to “customary procedure” of a business in entering information into

  a data repository).

         CHG’s reliance on Argo v. Blue Cross & Blue Shield of Kansas, Inc., 452 F.3d 1193,

  1200 (10th Cir. 2006), and Freeman is misplaced because the declarants in those cases lacked

  familiarity with the business practices at issue. In Argo, an employee who was “not a human

  resources official . . . was not in a position to acquire” comprehensive knowledge regarding the

  basis for employee termination decisions. 452 F.3d at 1200. Similarly, in Freeman, the plaintiff

  offered “no evidence to establish that [a jail employee’s position] would qualify him to render

  opinions about [a health service’s] medical practices, including its staffing levels and

  prescription practices.” 2018 WL 4134669, at *7. Here, by contrast, Mr. Davis is a software

  engineer who has worked directly on the development of the software stored in VGT’s source

  code repository, Ex. G ¶¶ 2, 4, putting him in a position to understand how VGT engineers use

  the repository.

         Second, CHG contends that certain statements are speculation, such as “To my

  knowledge, VGT has not given [reference manuals describing the algorithm] to casino

  operators,” and “I am not aware of another Class II company that generates                 in the

  same way as VGT.” Compare Ex. G ¶¶ 15, 18, with Mot. at 15–16. This is meritless. Mr.

  Davis’s knowledge is based on his over 14-years of experience as a VGT software engineer who

  is familiar with VGT’s             algorithm, including the source code and documentation

  describing the algorithm. Ex. G. ¶ 2. This provides more than enough support for the testimony



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  in the declaration.

            CHG misapprehends black-letter law in arguing that “statements about things he is ‘not

  aware’ of” are inadmissible because they “are necessarily things he ‘could not have actually

  perceived or observed.’” Mot. at 16. CHG conflates testimony about an event that the witness

  did not perceive with testimony that a witness did not perceive that event. It is beyond question

  that the latter testimony—an example of which is Paragraph 18 of the Davis Declaration—is

  proper.

            Finally, it bears mention that CHG’s argument is at odds with the conclusory declaration

  that CHG submitted in opposition to VGT’s summary judgment motion. See Dkt. 240, Ex. 51,

  Decl. of Daniel Fulton in Supp. of Def.’s Br. In Opp. to Pl.’s Mot. for Partial Summ. J. There,

  Mr. Fulton offered previously undisclosed information about the appearance of VGT’s games,

  id. ¶¶ 3–4, and opinions about how VGT’s games were somehow changed to be

                                                                    id. ¶¶ 5–7, without ever

  explaining the basis for his personal knowledge of how VGT’s games changed or

                                 .

        C.        All Information in the Davis Declaration Was Timely Disclosed During
                  Discovery.

            CHG makes the remarkable claim that the Davis Declaration contains information that

  VGT failed to provide in discovery. Mot. at 16–18. This is simply not true. At the first possible

  opportunity, VGT identified Mr. Davis as a witness knowledgeable about its software and game

  development, Ex. P, VGT’s Rule 26(a)(1) Initial Disclosures, at 2; the history of VGT’s trade

  secrets, Ex. U, VGT’s Response to Interrogatory No. 6, at 157; and the information in VGT’s

  interrogatory responses, Ex. U, VGT’s Response to Interrogatory No. 8, at 181.

            In addition, before VGT even had discovery from CHG, VGT identified the VGT


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       algorithm as a key trade secret. See, e.g., Ex. T, VGT’s First Suppl. Resp. to Interrog. No.

  4, at 37, 44. And once VGT learned of CHG’s misappropriation, VGT supplemented its

  interrogatory responses with additional information regarding the algorithm. Ex. U, VGT’s

  Third, Fourth, and Fifth Suppl. Resp. to Interrog. No. 4, at 147–154.

         Despite these timely disclosures, CHG chose not to depose Mr. Davis in his individual

  capacity. CHG’s suggestion that VGT’s counsel was somehow obligated to “solicit[] testimony

  eliminating the need for a declaration,” Mot. at 12, when CHG deposed Mr. Davis as a corporate

  representative is “completely without merit” because there “is no requirement that a party depose

  its own witnesses” in order to be able to later offer declarations from those individuals in support

  of a summary judgment motion. President v. Illinois Bell Tel. Co., 865 F. Supp. 1279, 1283

  (N.D. Ill. 1994); see also Hanuman, LLC v. Summit Hotel Op, LP, No. 2:13-CV-02234-HGD,

  2017 WL 9538895, at *1 (N.D. Ala. Mar. 31, 2017) (“plaintiff was not obligated to depose its

  own witnesses.”). CHG’s failure to depose Mr. Davis in his individual capacity is a problem

  entirely of its own making. 13

         Nor did CHG ever seek to compel an increased “level of detail” in VGT’s admittedly

  lengthy interrogatory responses. See Mot. at 18. In light of VGT’s extensive disclosures—and

  CHG’s decision not to seek further information in discovery—CHG’s contention that VGT

  somehow withheld information about the                 algorithm rings hollow.

         In contrast, CHG seeks to rely on entirely new evidence—four patent publications—that



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     CHG improperly suggests inconsistencies in VGT’s position about when a party must question
  “its own witnesses.” Mot. at 13 & n.6. But there is no inconsistency. Although there is no
  general obligation to depose one’s own witnesses, there are entirely different obligations—i.e.,
  not to intentionally interfere with contractual relationships and not to obtain evidence in violation
  of legal rights—that prevent CHG from obtaining confidential VGT information from VGT’s
  former employees outside of formal discovery procedures, like a deposition. See Dkt. 163, Pl.’s
  Mot. & Br. in Supp. to Exclude the Test. of W. Todd Schoettelkotte in Part, at 12.

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  were never disclosed during discovery even though VGT moved to compel on the precise issue

  for which CHG now seeks to use those newly produced patent publications. See Dkts. 105, 113,

  114. VGT withdrew its motion to compel as moot after CHG confirmed that it “did not withhold

  information” regarding its trade secret defenses and that its responses were “complete based on

  what we have and know at this time.” Dkts. 114. CHG’s tactic of disclosing patents for the first

  time in November—months after the close of discovery and after its witnesses were unable or

  unwilling to identify any such patents during depositions in June and August, see Ex. V, Suggs

  Dep. Tr. 237:24–239:22, Ex. W, Roireau 30(b)(6) Dep. Tr. 154:4–18, 157:19–158:6, stands in

  stark contrast to VGT’s prompt disclosures of its misappropriation claim regarding its

  algorithm.

         The remainder of CHG’s criticisms of the Davis Declaration misrepresent the record.

  First, CHG inaccurately claims that specific details in the Davis Declaration—namely, the total

  number of                                and the use of a source code repository—were not

  provided in discovery. See Mot. at 17–18. But VGT’s interrogatory responses plainly disclosed

  both of these pieces of information. See Ex. T at 37 (

                                                            ); Ex. U, VGT’s Third Suppl. Resp. to

  Interrog. No. 4 (“VGT has taken reasonable efforts to keep the algorithm secret, including

  storing its source code securely, marking any written descriptions of the algorithm as

  ‘confidential and proprietary’ (or similar language), see, e.g., VGT1788–1845, and not

  disclosing the algorithm to anyone who is not obligated to keep it confidential”); Ex. U, VGT’s

  Fourth Suppl. Resp. to Interrog. No. 4 (disclosing that VGT’s algorithms were “secured in a

  ‘private source code repository’ with steps that ‘were reasonable under the circumstances”).

  Further, VGT’s counsel identified the                         in a letter to CHG’s counsel



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  following VGT’s discovery that CHG was using the                 algorithm, and VGT’s source

  code repository was even discussed during depositions of CHG employees (formerly employed

  by VGT). See, e.g., Ex. V at 84:22–85:5, 87:12–25.

         Second, CHG also claims (erroneously) that the Davis Declaration “was the first time that

  VGT ever provided specific citations to source code for its algorithm misappropriation claims.”

  Mot. at 17. CHG fails to mention that VGT’s interrogatory responses cited specific VGT source

  code: “These [earlier identified CHG] files use highly similar algorithms to VGT’s



                                                            ” Ex. U at 148 n.7. Moreover, as

  discussed above, Mr. Friedman’s reports contained specific citations to VGT’s source code to

  explain the operation of its           algorithm. See, e.g., Ex. A ¶ 111; Ex. B ¶ 99.

         CHG never asked for more specificity regarding these source code citations. The April 9

  letter CHG cites in which it requested more detail about VGT’s               algorithm, including

  source code citations, see Mot. at 18 (citing Ex. M), predates the source code identifications

  above. Further, CHG ignores VGT’s response on April 11 that provided a chart identifying

  specific steps of VGT’s algorithm that CHG misappropriated. See Ex. X, Letter from M. Sawyer

  to R. Gill (Apr. 11, 2018). As CHG admitted at the time, VGT’s “effort” to “specifically

  identify” the misappropriated aspects of its algorithm was “very helpful.” Ex. M. After VGT

  provided that “very helpful” chart, CHG did not request specific source code citations for that

  algorithm throughout the remaining three months of fact discovery.

        D.      CHG’s Prejudice and Bad Faith Arguments Are Meritless.

         As with the Friedman Declaration, CHG makes a bare assertion of prejudice concerning

  the Davis Declaration. This is not surprising because the Davis Declaration contains no new

  information regarding the             algorithm.
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           CHG’s prejudice claim is particularly specious given the extensive time and paper that

  has been devoted to this issue. As the Court is aware, the             algorithm was the subject

  of numerous correspondence and discussions between counsel following VGT’s discovery of the

  misappropriation, Dkt. 102 at 5, and the parties briefed a motion for leave to amend based on this

  issue. In addition to documents and interrogatory responses on this topic from both parties, the

  algorithm also was the subject of fact witness depositions and expert discovery. In light of this

  record, it defies credulity for CHG to suggest that it does not understand the issue. Mot. at 19–

  20.

           CHG’s accusation of bad faith is baseless and inappropriate. VGT acted diligently upon

  discovering the misappropriation of the               algorithm, provided timely and extensive

  disclosures on this issue, and, as the Court recognized, even sought to negotiate a resolution in

  order to avoid litigation. Dkt. 102 at 13. This stands in contrast to CHG, which—despite

  claiming that it no longer wants to use the algorithm—declined VGT’s offer to resolve the issue

  and has vigorously fought (and thereby increased the cost of) VGT’s effort to hold CHG to this

  claim.

                                            CONCLUSION

           For the foregoing reasons, VGT respectfully requests that the Court deny CHG’s motion

  to strike the Friedman and Davis Declarations.




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                                   CERTIFICATE OF SERVICE

         I hereby certify that on December 14, 2018, I filed a redacted version of the foregoing via

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